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__________________________________________________________________
                                              SO ORDERED,




                                             Judge Katharine M. Samson
                                             United States Bankruptcy Judge
                                             Date Signed: March 16, 2023


        The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________



                         UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI

IN RE:

       Kermit C. Shelton,                                             CASE NO. 23-50064 KMS

               DEBTOR(S).                                                          CHAPTER 13


   ORDER GRANTING MOTION FOR ADDITIONAL TIME TO FILE CHAPTER 13
             SCHEDULES, PLAN, AND OTHER DOCUMENTS

       This matter came before the Court on the Motion for Additional Time to File Chapter 13

Schedules, Plan, and Other Documents (the “Motion”) (Dkt. #26) filed by the Debtor, in the

above-styled case. The Court, having considered the matter, finds that the request is granted.

       IT IS, THEREFORE, ORDERED that the Motion is hereby granted. The chapter 13

schedules, statement of affairs, plan and all other information and forms required by 11 USC

Section 521(a)(1) is due on or before March 30, 2023.

       IT IS FURTHER ORDERED that if the Debtors fail to comply with this order then the

case may be dismissed without further notice or hearing.

                                   ### END OF ORDER ###
